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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 MINNESOTA BANKERS
 ASSOCIATION
     and
 LAKE CENTRAL BANK,

               Plaintiffs,
                                                 Case No. 23-cv-2177-PAM-ECW
 v.

 FEDERAL DEPOSIT INSURANCE
 CORPORATION and MARTIN J.
 GRUENBERG, in his official capacity
 as Chairman of the Federal Deposit
 Insurance Corporation,

               Defendants.


STIPULATION FOR ENTRY OF ORDER MODIFYING BRIEFING SCHEDULE

        On October 20, 2023, Defendants filed a Motion to Dismiss Plaintiffs’ Amended

Complaint [Docket No. 17]. The Court has scheduled that motion to be heard on

Wednesday, March 13, 2024 [Docket No. 22]. Absent any extension of time, Plaintiffs’

opposition to Defendants’ motion would be due on Wednesday, February 21, 2024, and

Defendants’ reply in support of their motion would be due Wednesday, February 28,

2024.

        Counsel for the parties have discussed and mutually agreed to an extended briefing

schedule to provide the parties more equitable briefing time. This would not affect the

hearing date set by the Court. Therefore, the parties, by and through their undersigned

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counsel of record, hereby stipulate to and respectfully seek the Court’s approval of

adjusting the Plaintiffs’ opposition deadline to Wednesday, February 14, 2024.



 DATED: January 12, 2024                         Respectfully submitted,

                                                 Andrew Dober (D.C. Bar No. 489638)
                                                 Senior Counsel


                                                 /s/ Sarah E. Faust _______
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